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                                    STATEMENT OF FACTS

        Your affiant is a Special Agent (“SA”) with the United States Capitol Police (“USCP”), where
I have been so employed as an Officer and a SA since September 2005. The USCP is responsible for
protecting the U.S. Congress, Congressional Staff, and U.S. Capitol and U.S. Congressional
Buildings, among other duties. I am currently assigned to the Criminal Investigations Section of the
Investigations Division. I have attended the Criminal Investigator Training Program at the Federal
Law Enforcement Training Center in Glynco, GA. As a Special Agent, I am authorized by law or by
a government agency to engage in or supervise the prevention, detention, investigation, or
prosecution of a violation of Federal criminal laws and District of Columbia laws. My experience as
a SA has included the investigations of cases involving the unlawful use and possession of firearms,
acts of violence, public disturbances, damage or injury to property, and the use of computers and the
Internet to commit offenses.

       After speaking with multiple members of the law enforcement community, including other
 members of the USCP and the Washington, D.C. Metropolitan Police Department, and based upon
 my firsthand knowledge investigating this incident, your affiant states as follows:

       On Tuesday, November 7, 2023, at approximately 12:40 p.m., an officer of the USCP
(Officer-1) patrolling the Upper Senate Park was approached by an unidentified citizen (Witness-1).
Witness-1 stated that while walking through Lower Senate Park he observed a black male that was
holding something by his side, but Witness-1 was unsure what it was. Witness-1 expressed concern
with the man’s actions and stated the man seemed fidgety, uneasy and that he might be in possession
of a gun. A video image of MERRELL’s appearance with firearm in left hand is depicted in Figure
1.




              Figure 1, Video Image of Merrill, Holding Weapon (in Yellow Circle)

       Witness-1 pointed out the individual, a black male who was sitting on a bench located near
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the center of Lower Senate Park. Witness-1 stated “That’s him right there” and Witness-1 then
walked away from the area. Officer-1 approached the individual, later identified as AHMIR LAVON
MERRELL (MERRELL), while he was sitting on a park bench.

         MERRELL was wearing a tan tracksuit and was clenching an item in his right hand. As
Officer-1 got closer, he observed MERRELL holding the end of what appeared to be a black in color
AR-style firearm with a magazine inserted into the gun and the barrel pointing toward the bench.
Officer-1 drew his firearm and pointed it at MERRELL, ordering him to step away from the AR-
style firearm. MERRELL refused to comply and said words to the effect of “For you to get this gun
from me, you are going to have to kill me.”

       Officer-1 radioed for additional law enforcement assistance. MERRELL proceeded to stand
up and hold the rifle in his right hand. MERRELL pointed the barrel of the rifle towards the bench.
Officer-1 continued to yell commands to drop the weapon. At this point, another USCP officer
(Officer-2) arrived, while MERRELL proceeded to walk eastbound in the park towards Delaware
Avenue, Northeast, refusing to comply with the Officer’s commands. At this point MERRELL
appeared to raise the Rifle higher in the air but maintained the barrel towards the ground.

         Officer-2 was able to holster his firearm and draw his Taser. Officer-2 yelled “Taser” and
deployed his taser, striking MERRELL in the back. MERRELL dropped the AR style firearm which
fell to his left side and fell to the ground. While on the ground, Officer-1, observed MERRELL reach
out to his left and attempt to grab the firearm. Multiple officers subdued MERRELL and placed him
in hand cuffs and secured the firearm. At this time, MERRELL said words to the effect of “why
didn’t you shoot me, you should have killed me.”

        The firearm possessed by MERRELL was a Diamondback Arms AR-Style Pistol, model DB-
15 bearing serial number DB1565561, as depicted in Figure 2. The firearm was loaded with a .223
caliber round in the chamber. Inserted into the AR-Style Pistol was a 30 round high-capacity
ammunition feeding device containing 26 rounds, as depicted in Figure 3. The firearm has the serial
number obscured as depicted in Figure 4. An additional large capacity feeding device was recovered
on scene that contained 30 additional rounds. A total of 78 ammunition rounds were recovered.




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              Figure 2, Diamondback Arms AR-Style Pistol Possessed by MERRELL




             Figure 3, 30 Round High-Capacity Ammunition Possessed by MERRELL




                     Figure 4, Showing Attempts at Obliterating Serial Number

       Court records indicate that in the Superior Court of Fulton County, Georgia, case 20-SC-
174488, MERRELL was charged with Second Degree Cruelty to Children, and pled guilty under the
Georgia First Offender Act. In the Georgia First Offender Act, a sentence is issued, the proceedings
are deferred, but no judgement is imposed, pending the successful completion of the sentence. If a
defendant fulfills the terms of the sentence, the Defendant shall stand discharged of the offense. If a
defendant fails to fulfill the terms of the sentence, the Court may impose a sentence and enter a
judgment of guilt.

       According to Court records, including the transcripts of his guilty plea colloquy held in Fulton
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County Superior Court on January 27, 2020, MERRELL acknowledged, under oath, his knowledge
that he was under indictment for a crime punishable by imprisonment for a term exceeding one year.
MERRELL was sentenced to 2 years imprisonment, which was commuted for time served in pre-
trial confinement and the remaining time converted to probation. Additionally, he was sentenced to
probation for 6 years, for a total of an 8 year sentence. At his sentencing hearing, MERRELL was
informed that he was giving up the right to receive or possess a firearm, both as a term of his sentence
as well as by operation of his guilty plea to a felony offense. MERRELL acknowledged both firearms
restrictions under oath.

       According to law enforcement records, MERRELL was a fugitive from his probation in the
above case on November 7, 2023. Accordingly, as MERRELL remained without a final judgement
entered in his case under the Georgia First Offender Act, MERRELL was a person under indictment
when he possessed and transported a firearm on November 7, 2023, in Washington, D.C.

        The firearm was transported in interstate commerce by MERRELL who traveled with the
firearm and ammunition from Georgia to Washington, D.C. MERRELL admitted to law enforcement
officers that he traveled with the firearm from Georgia to Washington, D.C.

       Based on the foregoing, your affiant submits that there is probable cause to believe that
MERRELL violated 18 U.S.C. § 922(n), which criminalizes the Illegal Receipt of a Firearm by a
Person Under Indictment.



                                                SPECIAL AGENT JAMES M. SOLTES
                                                United States Capitol Police


 Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
 telephone on this 9th day of November, 2023.
                                               G. Michael           Digitally signed by G.
                                                                    Michael Harvey

                                               Harvey               Date: 2023.11.09 14:21:34
                                                                    -05'00'

                                                THE HONORABLE G. MICHAEL HARVEY
                                                U.S. MAGISTRATE JUDGE




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